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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       Case No. 21-CR-175-5 (TJK)
                                             :
ENRIQUE TARRIO,                              :
                                             :
                      Defendant.             :

GOVERNMENT’S OPPOSITION TO TARRIO’S MOTION TO DIRECT THE BUREAU
 OF PRISONS TO HOUSE TARRIO IN THE ALEXANDRIA DETENTION CENTER
              DURING THE PENDENCY OF HIS SENTENCE

       The United States respectfully submits this response to Defendant Enrique Tarrio’s Motion

for an Order from this Court that would direct the Bureau of Prisons to house Tarrio in the

Alexandria Detention Center 1 for the remainder of his sentence. The Court should deny the

motion. The Bureau of Prisons has sole authority to designate the place of imprisonment, and the

designation is not reviewable by any court. 18 U.S.C. § 3621(b). Furthermore, as explained herein,

after a series of movements that included transfer of the defendant to the D.C. area for testimony

at the trial of United States v. Shane Lamond, the defendant is presently located at his designated

facility—FCI Pollock in Louisiana. No additional movement is necessary to accommodate the

defendant’s demands. Accordingly, the defendant’s motion should be denied.

                     PROCEDURAL AND FACTUAL BACKGROUND

       On March 7, 2022, a grand jury returned a Second Superseding Indictment charging




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  The Alexandria Detention Center is not a facility owned or operated by the U.S. Bureau of
Prisons. Federal prisoners are housed at the Alexandria Detention Center through a contract with
the U.S. Marshals Service. Accordingly, while the law forecloses the relief sought be defendant
here, the government also notes that the defendant’s request to be incarcerated for the remaining
term of his sentence at the Alexandria Detention Center cannot be accommodated.
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Enrique Tarrio with multiple felonies stemming from his and his co-conspirators’ efforts to

obstruct the certification of the Electoral College vote related to the 2020 presidential election and

conspire to use force against the United States government. ECF 370 at 1. The defendant was

arrested on March 8, 2022, the day after the indictment was returned. Id. Magistrate Judge Lauren

F. Louis of the Southern District of Florida held a hearing and ordered the defendant detained. On

April 18, 2022, the defendant moved to revoke the detention order (ECF 341), and this Court

denied the defendant’s motion to revoke. ECF 369 and 370. This Court ordered that the defendant

be transported back to FDC Miami pending trial to ensure, among other things, that the defendant

could adequately prepare for trial in December 2022. ECF 371. The government concurred in this

specific placement to facilitate trial readiness.

        The defendant remained at FDC Miami until November 2022 when he was transported to

the Washington, D.C. area in advance of trial in December 2022. On May 4, 2023, the defendant

was convicted of six felonies. The defendant was transported back to FDC Miami pending

sentencing on September 5, 2023.

        On September 5, 2023, this Court sentenced the defendant to 22 years of incarceration. The

Bureau of Prisons subsequently designated FCI Manchester, a medium security facility in

Kentucky, as the facility for the defendant. The defendant remained at FCI Manchester from

October 30, 2023, until September 3, 2024. In August 2024, the defendant was redesignated to

FCI Pollock, a medium security facility in Louisiana.

        Around the same time as the defendant’s redesignation and efforts to transfer the defendant

from FCI Manchester to FCI Pollock in September 2024, the U.S. Marshals were also making

arrangements to transport the defendant to Washington, D.C. to appear as a witness for the defense

in the trial United States v. Shane Lamond, 23-cr-177 (ABJ). Specifically, on or about August 1,

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2024, the U.S. Marshals received a writ to produce the defendant for trial on October 2, 2024. The

trial was subsequently continued (see Lamond Minute Order Oct. 1, 2024), and the trial was reset

for a Bench Trial on December 2, 2024 (see ECF 80; see also Minute Order Nov. 20, 2024). In

connection with resetting the trial, or about October 1, 2024, the U.S. Marshals received a writ to

produce the defendant for trial on December 2, 2024.

       On December 5, 2024, the defendant testified for the defense during the Lamond trial.

Following his testimony, the defendant was transported to his facility of designation, FCI Pollock.

The defendant arrived at FCI Pollock on December 10, 2024. There are no further anticipated

movements for the defendant at this time.

                                           ARGUMENT

       The defendant is not entitled to the relief sought here, and the Court does not have the

authority to order that a defendant be confined or moved to a particular facility. See 18 U.S.C.

§ 3621(b); United States v. Williams, 65 F.3d 301, 307 (2d Cir. 1995) (“A sentencing court has no

authority to order that a convicted defendant be confined in a particular facility[.]”).

       Indeed, the statute governing placement of “convicted persons” is unequivocal. See 18

U.S.C. § 3621(b). The statute states that the Bureau of Prisons “shall designate the place of the

prisoner’s imprisonment” after consideration of enumerated factors. Id. The statute then explains

that “[n]otwithstanding any other provision of law, a designation of a place of imprisonment under

[18 U.S.C. § 3621(b)] is not reviewable by any court.” Id. Unsurprisingly, courts have

acknowledged that the decisions concerning placement of prisoners are “within the sole discretion

of the Bureau of Prisons.” Williams, 65 F.3d at 307 (2d Cir. 1995).

       The defendant points to this Court’s previous Transport Order (ECF 371) as an example of

the Court’s authority to direct the Bureau of Prisons to move an inmate. However, that example is

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plainly distinguishable and not covered by 18 U.S.C. § 3621(b). At the time of this Court’s

Transport Order (ECF 371), the defendant was detained pre-trial and not a “person who has been

sentenced to a term of imprisonment” pursuant to 18 U.S.C. § 3581 et seq. The defendant’s current

status as a “person who has been sentenced to a term of imprisonment” places authority for his

placement squarely within 18 U.S.C. § 3621(b) and thus “within the sole discretion of the Bureau

of Prisons” and “not reviewable by any court.” 18 U.S.C. § 3621(b); Williams, 65 F.3d at 307 (2d

Cir. 1995).

       The defendant also asserts that he has been subjected to periods of time in the Special

Housing Unit (SHU), claiming that such treatment unfairly places him in seclusion. 2 But the

defendant simultaneously concedes that his time in the SHU is the result of the defendant’s

“relocation process.” ECF 148 at 5 (“Mr. Tarrio is subjected to the SHU just because of his

relocation process.”). As this Court and defense counsel know, the transfer of inmates in federal

custody from Point A to Point B often requires intervening stops at other facilities. The U.S.

Marshals are responsible for the movement of thousands of inmates per week, and movements of

prisoners are often consolidated for a variety of reasons, including budgetary considerations and

the safety and security of inmates and staff. Inmates in the process of transferring between facilities

may be temporarily held outside of general population upon arrival at a temporary facility to ensure

the health, safety and security of the inmate in transit, the other inmates, and prison staff. This

segregation allows time for the facility to conduct necessary health screenings, evaluate potential

conflicts between inmates, and analyze security risks in light of the arrival of a new inmate.



2
  The government does not concede the accuracy of the information in the defendant’s chart.
Should the Court find it necessary to resolve this motion, the government can provide a schedule
of defendant’s movements and incarceration status. For the reasons set forth herein, the
government submits that such information is not necessary to resolve the defendant’s motion.
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       Here, the court order to produce the defendant at the Lamond trial in Washington, D.C. and

that trial’s continuance from October 2 to December 2 appear to have contributed to a series of

transfers for the defendant. At this time, the government is not aware of any facts that would

indicate that such conditions and outside influences (e.g., the need to produce the defendant for

testimony) would be replicated.

       Rather, just as from October 2023 until September 2024 when the defendant was

incarcerated at his place of designation at FCI Manchester, the defendant is presently incarcerated

at his place of designation at FCI Pollock.

                                          CONCLUSION

       For the foregoing reasons, the Court should deny the defendant’s motion.

                                              Respectfully Submitted,


                                              MATTHEW M. GRAVES
                                              United States Attorney
                                              D.C. Bar No. 481052

                                    By:       /s/ Jason B.A. McCullough
                                              JASON B.A. MCCULLOUGH
                                                      DC Bar No. 998006; NY Bar No. 4544953
                                              ERIK M. KENERSON, OH Bar No. 82960
                                              CONOR MULROE, NY Bar No. 5289640
                                              Assistant United States Attorneys
                                              601 D Street NW
                                              Washington, D.C. 20530
                                              (202) 252-7233
                                              Jason.McCullough2@usdoj.gov




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